                         UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA

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 JACOB DOE

                                Plaintiff,
 v.
                                                                        No. 1:24-CV-41
 THE UNIVERSITY OF NORTH
 CAROLINA SYSTEM, et al.

                                 Defendants.
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                 TEMPORARY RESTRAINING ORDER AND
      ORDER for EXPEDITED HEARING on PRELIMINARY INJUNCTION

       For the reasons set out in the Plaintiff’s Motion for Temporary Restraining Order

and Preliminary Injunction (ECF No. 4), supporting memorandum of law (ECF No. 5), the

Verified Complaint (ECF No. 1), and Plaintiff’s Certification of Compliance with the

notice requirements of Fed. R. Civ. P. 65(b) (ECF No. 4-1) and other good cause shown,

the Court hereby finds that Plaintiff Jacob Doe has met the showing required to support the

entry of this temporary restraining order and a preliminary injunction pursuant to Rule 65

of the Federal Rules of Civil Procedure, in that (i) the probability of irreparable harm to

the Plaintiff is present should the relief not be granted, (ii) there is a likelihood that the

Plaintiff will succeed on the merits, (iii) the balance of hardships tips decidedly in

Plaintiff’s favor, and (iv) the injunction is in the public interest.

       Therefore, IT IS HEREBY ORDERED THAT pending a determination of

Plaintiff’s Motion for Preliminary Injunction, Defendants are hereby:



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       (1)    Restrained from suspending Plaintiff or otherwise interfering with Plaintiff’s

participation in courses in which is enrolled or will be enrolled, Plaintiff’s access to the

University’s educational programs, facilities, and resources; prohibiting Defendants from

otherwise treating Plaintiff differently than a student in good-standing and including by

failing to permit Plaintiff to add courses to his existing schedule of courses for the Spring

2024 term;

       (2)    Restrained from releasing or disclosing any information concerning the

disciplinary proceedings that are the subject of this lawsuit and directed to instruct all

individuals, including but not limited to employees and students who may have information

concerning Plaintiff, over whom they exercise control, to refrain from disclosing any

information concerning Plaintiff or Plaintiff’s disciplinary proceedings; and

       (3)    Ordered to inform any media outlet, or any other third party, over which any

Defendant has authority to control, of the existence of the temporary restraining order and

any preliminary injunction subsequently issued, and notifying such media outlets or other

third party, that they are prohibited from publishing any information concerning Plaintiff,

the disciplinary proceedings, or the outcomes of such proceedings;

       IT IS HEREBY FURTHER ORDERED THAT Defendants appear before the

United States District Court for the Middle District of North Carolina, located at

______________________________________, North Carolina _____, Courtroom ____,

at ____ on the ____ day of _______________2024, and SHOW CAUSE why a

preliminary injunction should not issue continuing the relief ordered above and any further

relief sought in Plaintiff’s motion for a preliminary injunction through the duration of this

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action in a preliminary injunction.

       IT IS HEREBY FURTHER ORDERED THAT this order and all the papers

supporting Plaintiff’s motion for entry of this order and for a preliminary injunction shall

be served by e-mail upon _____________________, Esq., counsel for the University of

North Carolina at Chapel Hill, on or before 4:00 PM on January __, 2024, which shall

constitute good and sufficient service.

       THIS ORDER REMAINS IN EFFECT UNTIL ___________, 2024, unless

extended by agreement of the parties or by order of this court.



       SO ORDERED this ______ day of January 2024.



                                                  _______________________
                                                  United States District Judge




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